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                    Exhibit B
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                                                                    Page 1

 1                          UNITED STATES DISTRICT COURT
 2                        NORTHERN DISTRICT OF CALIFORNIA
 3                                     ---oOo---
 4      THRESHOLD ENTERPRISES LTD, a
        Delaware corporation,
 5
                    Plaintiff,
 6
        vs.                                        No. 5:22-cv-06483-PCP
 7
        LIFEFORCE DIGITAL INC., a
 8      Delaware corporation,
 9                  Defendant.
        ___________________________/
10
11
12
13                      Confidential - Attorney's Eyes Only
14                          DEPOSITION OF BARRY SUGARMAN
15
16
17
18                            Taken before Kaylin Hoag
19                                  CSR No. 14267
20                               December 14, 2023
21
22
23
24
25

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 2                               PAGE                                               Threshold Enterprises, Ltd.
 3 EXAMINATION BY MR. SPATZ                          6                   2          and Sterling-Rice Group         174
                                                                         3 Exhibit 239 Coexistence Agreement between
 4 EXAMINATION BY MR. AGARWAL                            193
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 5                                                                       4          and LifeForce Devices Inc.       178
 6                                                                       5 Exhibit 240 Agreement between Threshold
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 8                               PAGE                                    6          Currents Distributing, Ltd.    180
 9 DEFENDANTS'                                                           7 Exhibit 241 Agreement between Threshold
10 Exhibit 218 Lifeforce Digital Inc.'s                                             Enterprises Ltd. and Infinite
            Notice of Deposition of                                      8          Labs, LLC                 183
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12 Exhibit 219 Literature for Life Force
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16                                                                      15 Exhibit 245 Agreement between Threshold
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            Selling & Marketing Expenses 104                                        Metin Deniz                191
21                                                                      20
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                                                                        21          Enterprises Ltd. and
22          financial report 2016-2023   106
                                                                                    New Chapter                 192
23 Exhibit 226 Revenue report for the                                   22
            Life Force product line                                     23
24          2204-2023                107                                24
25                                                                      25

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 1 Exhibit 227 Financial report showing                                  1           DEPOSITION OF BARRY SUGARMAN
            yearly revenue for the Life
 2          Force product line and                                       2
            monthly revenues for 2021,                                   3
 3          2022 and year to date 2023       109                         4      BE IT REMEMBERED, that pursuant to Notice, and on
 4 Exhibit 228 Threshold Enterprises LTD's
            Amended Response to Lifeforce                                5 the 14th day of December 2023, commencing at the hour of
 5          Digital, Inc.'s First Set                                    6 9:07 a.m., in the offices of Regus, 2033 Gateway
            of Interrogatories to Plaintiff                              7 Boulevard, 6th Floor, San Jose, California, before me,
 6          Threshold Enterprises LTD          112
 7 Exhibit 229 E-mail correspondence from                                8 KAYLIN HOAG, a Certified Shorthand Reporter, State of
            Barry Sugarman to                                            9 California, personally appeared BARRY SUGARMAN, produced
 8          Wg@lifeforce.net               125                          10 as a witness in said action, and being by me first duly
 9 Exhibit 230 E-mail correspondence between
            Monty Agarwal and David Hurley 130                          11 sworn, was thereupon examined as a witness in said cause.
10                                                                      12                 ---oOo---
   Exhibit 231 E-mail correspondence between
                                                                        13 APPEARANCES
11          Monty Agarwal and David Hurley 132
12 Exhibit 232 Coexistence and Consent to Use                           14 For the Plaintiff:
            and Register Agreement           143                        15            MONTY AGARWAL
13
                                                                                      RACHEL CHANIN
   Exhibit 233 Document reflecting the top
14          50 Source Natural products                                  16            Vallejo Antolin Agarwal Kanter LLP
            from 2011 to 2022              161                                        3021 Citrus Circle, Suite 220
15
   Exhibit 234 Trademark Coexistence
                                                                        17            Walnut Creek, California 94598
16          Agreement between                                                         (925) 951-6970
            Threshold Enterprises Ltd. and                              18            magarwal@vaakllp.com
17          Life Force Wellness LLC           164
18 Exhibit 235 September 17, 2021 letter
                                                                        19 For the Defendant:
            to Justin Crayton,                                          20            GEORGE SPATZ (pro hac vice)
19          Legalzoom Legal Services,                                                 MANON BURNS
            from Rachel Chanin              168
20
                                                                        21            Amin Talati Wasserman, LLP
   Exhibit 236 Trademark Agreement between                                            549 W Randolph Street, Suite 400
21          Threshold Enterprises Ltd. and                              22            Chicago, Illinois 60661
            Astec, Ltd.               170
22
                                                                                      (312) 466-1033
   Exhibit 237 Trademark Agreement between                              23            gspatz@amintalati.com
23          Threshold Enterprises Ltd. and                                            manon@amintalati.com
            Portals Pharma, Inc.           171
24                                                                      24
25                                                                      25

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 1                 BARRY SUGARMAN                              1 your lawyer instructs you not to answer a question after
 2               sworn as a witness                            2 that objection, you still need to give a response.
 3              testified as follows:                          3 Understood?
 4                                                             4    A. Yes.
 5 EXAMINATION BY MR. SPATZ:                                   5    Q. Okay. And then is there any reason you would
 6     Q. Could you please state and spell your name for       6 not be able to give truthful testimony today? Not
 7 the record?                                                 7 feeling well, medications, anything that would prohibit
 8     A. Barry Sugarman, B-A-R-R-Y S-U-G-A-R-M-A-N.           8 you from giving truthful testimony?
 9     Q. Mr. Sugarman, have you been deposed before?          9    A. No. I feel fine.
10     A. Yes.                                                10    Q. Okay. And then finally, if you need a break,
11     Q. Okay. How many times?                               11 just let me know. If you, you know, need to use the
12     A. More than five.                                     12 restroom, just stand up stretch your legs, anything, let
13     Q. More than five. What was the most recent            13 me know. I'll finish whatever question or line of
14 deposition?                                                14 questions I'm on and we can take a break. Okay?
15     A. Boy, I'm not sure. It's been a little while.        15    A. Yes.
16 It was a litigation for Threshold I think.                 16    Q. Without getting into the substance of any
17     Q. Do you know what the subject matter of the          17 conversations with your attorneys, what did you do to
18 litigation was?                                            18 prepare for your deposition today?
19     A. Yeah. It was a -- it was a lawsuit, a personal      19    A. I went over some records that I have and some
20 injury lawsuit for a particular product, Chlorella.        20 briefing papers from the lawyers.
21 Someone was alleging injury and they deposed a group of    21    Q. Do you recall any specific documents you
22 us.                                                        22 referenced?
23     Q. Have the approximately more than five               23    A. Yes. There were specific documents prepared,
24 depositions all been in connection with Threshold?         24 and I looked at those. And also I looked at the
25     A. No.                                                 25 interrogatory responses and the documents that were given
                                                     Page 7                                                         Page 9
 1     Q. How many have been in connection with Threshold? 1 to me to prepare.
 2     A. It's been awhile. Maybe three or four.              2     Q. Did you speak with anyone else at Threshold
 3     Q. Have you been deposed in any trademark cases on     3 specifically in preparation for the deposition?
 4 behalf of Threshold?                                       4     A. I spoke with my two attorneys, and I did meet
 5     A. Yes. I believe -- I believe there was a             5 with Mr. Goldberg yesterday with the attorney.
 6 deposition in one case. I believe so. It's been quite      6     Q. Did you have any conversations with Mr. Goldberg
 7 awhile.                                                    7 where the attorney wasn't present?
 8     Q. Do you remember what the trademark or the           8     A. No. Not regarding the case, no.
 9 product was in that case?                                  9     Q. You understand the testimony you're giving today
10     A. I think it was the Life Force V case.              10 is in connection with a lawsuit that Threshold
11     Q. Okay. So since it's been awhile, I'll go           11 Enterprises has brought against Lifeforce Digital, Inc.
12 through the ground rules of depositions again so we're on 12 related to alleged infringement of the Life Force
13 the same page.                                            13 trademark?
14        You know, first, the conversation here today is    14     A. That's my understanding.
15 being transcribed. So we have to make sure we don't       15        (Defendants' Exhibit No. 218 marked
16 speak over each other. So I'll do my best and make sure   16        for Identification.)
17 I let you finish before I speak, and if you could let me  17 BY MR. SPATZ:
18 finish before you speak, I'd appreciate that. Okay?       18     Q. Mr. Sugarman, I've handed you what's been marked
19     A. Yes.                                               19 as Exhibit 218. This is a notice of deposition for
20     Q. Okay. The other is, we need all verbal             20 Threshold Enterprises. If you turn to page 2, there's a
21 responses. So nodding of the head, shakes of the head     21 number of topics listed for examination. Are you
22 doesn't translate. So if you can give yes or no answers,  22 familiar with this list of topics?
23 that would be appreciated. Okay?                          23     A. Yes.
24     A. Yes.                                               24     Q. Okay. And do you understand that you've been
25     Q. At time to time your lawyer may object. Unless     25 designated as the corporate representative to testify on

                                                                                                        3 (Pages 6 - 9)
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 1 behalf of Threshold with respect to these topics?              1 also then went into consulting.
 2    A. Yes.                                                     2    Q. And how long were you with Diverstech?
 3       MR. AGARWAL: Counsel, I just note that we did            3    A. It's still.
 4 -- we are offering Mr. Sugarman for all topics except for      4    Q. Still?
 5 one topic which relates to -- which has been split in          5    A. Today.
 6 time, and that is the topic number...                          6    Q. And you do your consulting through Diverstech?
 7       MR. SPATZ: Yeah, I understand. For the oral              7    A. Yes.
 8 agreement with Life Force International around 1996.           8    Q. And are you a consultant to Threshold through
 9       MR. AGARWAL: And so he will be designee for              9 Diverstech?
10 essentially kind of...                                        10    A. Technically, yes, but I'm considered an
11       MR. SPATZ: Everything but that.                         11 executive there. That's my primary client.
12       MR. AGARWAL: Yeah.                                      12    Q. Do you dedicate full-time to Threshold?
13 BY MR. SPATZ:                                                 13    A. Yes. It's -- yes. Many hours.
14    Q. Can you give me a brief background of your              14    Q. And then you're a 1099 independent contractor or
15 education? What's the highest degree you've achieved?         15 do you have an employee relationship with Threshold?
16    A. I have a bachelor of science in engineering from        16    A. 1099.
17 Cal State Northridge.                                         17    Q. And when did you start consulting for Threshold?
18    Q. And when did you get your BS?                           18    A. In 1994, late 1994.
19    A. 1982.                                                   19    Q. And what was the nature of your initial
20    Q. And after you got your BS in engineering, what          20 consulting with Threshold?
21 did you do for employment or did you go onto any other        21    A. Initially I was brought in to assist with
22 education?                                                    22 building a quality control department, testing, and
23    A. I had my own business.                                  23 building a lab and helping in manufacturing after that.
24    Q. So right around 1982 you started your own               24 And then I went on to R and D and some of the other
25 business?                                                     25 areas.
                                                       Page 11                                                        Page 13
 1    A. No. Started in November of '78.                          1     Q. Do you have a specific scope of responsibility
 2    Q. Okay. And what was that nature of that                   2 at Threshold or do they give you ad hoc projects or
 3 business?                                                      3 initiatives?
 4    A. My father and I owned a pharmaceutical,                  4     A. Both.
 5 manufacturing, and distribution company.                       5     Q. And you know, currently what is your scope of
 6    Q. What's the name of the company?                          6 responsibility?
 7    A. The manufacturing company was Liqui-Farm, Inc.,          7     A. Regulatory affairs and corporate matters and
 8 the distribution company was United States Trading Corp.,      8 technical matters.
 9 and the rep company was Chem-Farm Limited.                     9     Q. Who do you report to at Threshold?
10    Q. And what were your responsibilities at the              10     A. The president and owner.
11 pharmaceutical company?                                       11     Q. That's Ira Goldberg?
12    A. I was the VP of marketing and sales at the              12     A. Correct.
13 distribution company, I was the president of the              13     Q. Do you have anybody that reports to you at
14 manufacturing company and had numerous responsibilities       14 Threshold?
15 in both.                                                      15     A. Well, many people, many departments. I'm the --
16    Q. And then, you know, a couple years later you            16 we have an executive team, and I'm on the executive team.
17 started at Cal State Northridge. Were you full-time then      17 So the people who are below the executive team all report
18 or did you split between working and going to school?         18 up to. So there's -- my primary departments that I'm
19    A. The latter; split between working and school.           19 involved with are quality, R and D, legal regulatory.
20    Q. Okay. And how long did you work at the                  20 Those are the three primary ones. And sales and
21 pharmaceutical companies?                                     21 marketing.
22    A. From '78 to the early 1990s, roughly '92 or '-3.        22        So I'm on a team. The executive team or
23    Q. And where did you go after -- in 1992/1993?             23 executive team members like myself participate in
24    A. I started my Diverstech business which started          24 meetings with those departments.
25 off in distribution of goods to government agencies and       25     Q. And who are the people that are on the executive

                                                                                                        4 (Pages 10 - 13)
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 1 team?                                                        1 doctors and a pharmacy brand, Horizon Naturals and
 2     A. Myself, Ira Goldberg, Brian Cayton, and then          2 Genexis Nutraceutics. Horizon was a pharmacy brand and
 3 depending on -- there could be other team members. So        3 Genexis is a doctor's brand. Those two brands are
 4 the sales executive team has some of the managers on         4 incidental. They're on a per special order type basis
 5 that. But those are the main -- myself, Brian Cayton,        5 now. They're not really actively marketed.
 6 Ira Goldberg are the main. Carl Weissman is the chief of     6    Q. So the two primary product lines that Threshold
 7 operations. Those are the main executive team members.       7 puts out is the Source Naturals branded product line and
 8 And Ira Goldberg.                                            8 the Planetary Herbals branded product line?
 9     Q. Do you have a title at Threshold?                     9    A. Correct.
10     A. It's regulatory affairs. Regulatory, corporate,      10    Q. And then I understand Threshold is a
11 and technical affairs is what I use.                        11 distribution business as well?
12     Q. Are you familiar with the title of director of       12    A. Yes.
13 corporate development?                                      13    Q. Okay. And can you describe that in a general
14     A. That's Brian's title.                                14 level, please?
15     Q. Oh, that's Brian's title. Got it.                    15    A. They have 300, approximately 300 brands of other
16       Have you been referred to as a technical              16 manufacturers that they sell on a wholesale basis to
17 consultant to the company?                                  17 customers, to retail customers.
18     A. Could you repeat the question?                       18    Q. Do they sell any of those third-party brands
19     Q. I said, do they refer to you as a technical          19 directly to consumers?
20 consultant to the company?                                  20    A. No.
21     A. That's part of my duties.                            21    Q. And speaking of the Source Naturals brand of
22     Q. As part of the lawsuit, counsel produced             22 product, what's the scope of Source Naturals products
23 documents to us. Were you involved in the collection of     23 that Threshold puts out?
24 documents in connection with this lawsuit?                  24    A. We have quite a number of products, hundreds of
25     A. Yes.                                                 25 products. Over -- over -- it was up to maybe a thousand
                                                     Page 15                                                          Page 17
 1     Q. Okay. And what did you do to search for               1 different products. Now it's cut back. It's somewhere
 2 documents?                                                   2 north of 500 products.
 3     A. Well, many things. I did -- I contacted               3    Q. Yeah, I saw a reference to 750 products in 25
 4 departments who I know have those documents. I searched      4 health categories. Does that sound about right?
 5 my own records. The lawyers had records. I physically        5    A. That's about right, yeah.
 6 looked in boxes for records and file cabinets in my          6    Q. And what health categories does Threshold target
 7 office at Threshold. I -- for sales figures I contacted      7 with the Source Natural branded products?
 8 Brian and direct with the sales data team.                   8    A. Well, many, many, many categories. Immunity is
 9     Q. And does Threshold regularly use e-mail for           9 one primary one, immune health; and there's many
10 communication?                                              10 multivitamins, individual vitamins, individual
11     A. Yes.                                                 11 supplements for specific uses, amino acids, men's health,
12     Q. And did you search e-mail for documents?             12 women's health, sexual health. Numerous categories.
13     A. I did.                                               13    Q. I'd like to refer you to an exhibit that's been
14     Q. Okay. And does Threshold have any other              14 marked as Exhibit 201.
15 channels that it uses for communication, for instance, a    15    A. Okay.
16 chat or a Slack type functions?                             16    Q. Are you familiar with this document as a news
17     A. We use Teams, but it's only recent and most          17 and product letter from April 2022?
18 people don't use chat for that. They use e-mail at          18    A. I don't know if I've seen this specific one
19 Threshold primarily for documents and things.               19 recently, but it's a Threshold newsletter. We send
20     Q. Okay. Can you tell me just in general terms a        20 newsletters out monthly.
21 little bit of the scope of Threshold's businesses, what's   21    Q. And who do the newsletters go to?
22 its primary activities?                                     22    A. These -- this is a wholesale newsletter. It
23     A. Threshold is a manufacturer and a distributor.       23 would go to retailers who are reselling our product.
24 It manufacturers dietary supplements, primarily under two   24    Q. If I can direct your attention to page 14 of the
25 brands, Source Naturals and Planetary Herbals. It has a     25 newsletter. It has the Bates number Threshold 16.

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 1 moving into any additional channels as a result of this      1 International's commercial activities?
 2 agreement?                                                   2       MR. AGARWAL: Object to the form of the
 3        MR. AGARWAL: Object to the form of the                3 question.
 4 question.                                                    4       But you can answer. But I don't know what
 5        THE WITNESS: I believe I answered that already        5 commercial activities means, but go ahead.
 6 but I'll answer it again. To the extent that this            6       THE WITNESS: I haven't spoken to Life Force
 7 agreement provides restrictions related to the               7 International. I'm not aware of every single activity
 8 interference of the use or the confusion of the parties      8 that they undertake, but I've never seen a complaint from
 9 to the agreement that we have before us, that would be a     9 them or any of our salespeople or marketing people
10 restriction. It could present itself in different ways.     10 regarding something that they marketed with respect to
11        In our 20 years prior to this agreement, in our      11 Life Force.
12 I guess 14 years subsequent to this agreement, we have      12 BY MR. SPATZ:
13 not experienced a complaint from Doctor Signature or Life   13    Q. And in a similar area, are you aware of any
14 Force International or directly experienced any             14 confusion from end customers between Threshold activities
15 allegation of interference or confusion.                    15 and Life Force International's activities?
16 BY MR. SPATZ:                                               16    A. Could you repeat the question, please?
17     Q. What would interfere with Life Force                 17    Q. Certainly. I think you referenced your sales
18 International's use?                                        18 reps, your marketing people. I'm asking, specifically
19        MR. AGARWAL: Object to the form of the               19 with respect to end consumers, are you aware of any
20 question.                                                   20 confusion from end consumers regarding Threshold's
21        THE WITNESS: Something that would interfere          21 commercial activities and Life Force International's
22 with or cause a complaint or a confusion by one of the      22 commercial activities?
23 parties to this agreement.                                  23    A. I'm not aware of any specific complaint, no.
24 BY MR. SPATZ:                                               24    Q. Okay.
25     Q. So it's your understanding that interference         25    A. But I'll say again, I'm not aware of all Life
                                                    Page 155                                                       Page 157
 1 would require a complaint or confusion regarding one of      1 Force International activities. They may have activities
 2 the parties' use of the mark?                                2 that I'm not aware of. I'm only speaking with regard to
 3     A. No. You mischaracterize your own question. You        3 Life Force.
 4 asked me for an example. I gave you one example. It          4     Q. Okay. Similarly, are you aware of any instances
 5 could be -- there could be numerous ways that it could       5 of confusion between Threshold and the defendant,
 6 present itself. With the Life Force V case they came to      6 Lifeforce Digital, from end consumers?
 7 a trade show that we were at and we saw them and there       7     A. I haven't had any specific complaints, but I've
 8 were complaints. So there could be any number of ways in     8 gone on Google myself in the last few days and I put in
 9 any number of channels. That was just an example. You        9 Life Force in various different presentations and I've
10 asked for an example.                                       10 noticed that the defendant's images, website, and
11     Q. And in that instance you just described with         11 information come up right alongside ours.
12 Life Force V, you believe that that caused confusion,       12     Q. Okay. Are you aware of any confusion from
13 them attending a trade show?                                13 consumers regarding Threshold and Lifeforce Digital?
14     A. I know that it did.                                  14     A. We don't speak to consumers directly unless they
15     Q. Okay. Just so I'm clear, I believe you               15 call in. So there may be confusion. I would say there's
16 testified to this, but let me ask it. Are you aware of      16 a likelihood of confusion based on what I'm seeing. I
17 any instances of confusion between Threshold and Life       17 haven't --
18 Force International?                                        18     Q. Are you aware of any actual confusion, instances
19     A. No.                                                  19 of actual confusion between Threshold and Lifeforce
20     Q. Are you aware of any confusion between               20 Digital?
21 Threshold's products and Life Force International's         21     A. I personally have never seen a complaint like
22 products?                                                   22 that, but I think it's highly likely that there would be
23     A. No.                                                  23 consumer confusion because of what I saw just as recently
24     Q. Are you aware of any confusion between               24 as yesterday or the day before.
25 Threshold's commercial activities and Life Force            25     Q. I'm sorry. I'm not asking about likely

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